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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                             CASE NO. 1:03-cr-00041-MP-AK

LINSOME A. BOYD,

      Defendant.
________________________________/

                                           ORDER

       This matter is before the Court on Doc. 668, Report and Recommendation of the

Magistrate Judge, which recommends that Defendant’s Motion to Vacate, Doc. 563, be denied.

The Magistrate Judge filed the Report and Recommendation on Thursday, March 20, 2008. The

parties have been furnished a copy of the Report and have been afforded an opportunity to file

objections. Pursuant to Title 28, United States Code, Section 636(b)(1), this Court must make a

de novo review of those portions to which an objection has been made.

       Defendant Boyd pled guilty to conspiracy to distribute a controlled substance involving

“crack cocaine,” and he was sentenced to 120 months incarceration. In his Motion to Vacate,

Defendant argues that the Supreme Court’s decision in Booker “makes the drug identity an

element,” and therefore must be proved to a jury beyond a reasonable doubt. Because Defendant

waived the right to assert a defense challenging the identity of the drugs when he voluntarily and

knowingly pled guilty, the Magistrate recommends that the motion to vacate be denied. In his

objections, as in his motion to vacate, Defendant claims that crack cocaine is an unscheduled

drug, and therefore federal courts do not have jurisdiction hear criminal cases involving crack

cocaine. It is readily apparent that federal law makes illegal the sale, manufacturing, and

distribution of crack cocaine. See 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A)(iii).
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        Since the Court has jurisdiction, and because Defendant admitted to the crime charged,

the Court agrees with the Magistrate’s Report. Therefore, having considered the Report and

Recommendation, and the objections thereto, I have determined that it should be adopted.

Accordingly, it is hereby

        ORDERED AND ADJUDGED:

        1.       The Report and Recommendation of the Magistrate Judge is adopted and
                 incorporated herein.

        2.       Defendant’s Motion to Vacate, Doc. 563, is DENIED.

        DONE AND ORDERED this           6th day of May, 2008


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge




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